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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                            )
 In re:                                                                     )    Chapter 11
                                                                            )
 CREDIVALORES – CREDISERVICIOS S.A.1                                        )     Case No. 24-24-10837 (DSJ)
                                                                            )
                                                                            )
                                                                            )
                                 Debtor.                                    )



  AMENDED PREPACKAGED CHAPTER 11 PLAN OF CREDIVALORES – CREDISERVICIOS S.A.




                        THIS CHAPTER 11 PLAN HAS BEEN SUBMITTED TO THE
                    BANKRUPTCY COURT FOR APPROVAL FOLLOWING SOLICITATION




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Dated: June 25, 2024




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                                                 INTRODUCTION
        Credivalores – Crediservicios S.A. (“Credivalores”) as debtor and debtor-in-possession (the “Debtor”)
proposes this amended plan of reorganization (the “Plan”). Reference is made to the Disclosure Statement for a
discussion of the history, businesses, properties and operations, projections and risk factors related to the Debtor,
as well as a summary and analysis of this Plan and certain related matters. Capitalized terms used herein shall have
the meanings set forth in Section 1.1 below.

                                       ARTICLE I
                DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF
                      TIME, GOVERNING LAW, AND OTHER REFERENCES
1.1      Defined Terms
         1.      “Administrative Claim” means any Claim for costs and expenses of administration during the
Chapter 11 Case pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses incurred on or after the Petition Date until and including the Effective
Date of preserving the Estate and operating the businesses of the Debtor; (b) Allowed Professional Claims; and (c)
all fees and charges assessed against the Estate pursuant to section 1930 of chapter 123 of title 28 of the United
States Code.
         2.     “Affiliate” means affiliate as such term is defined in section 101(2) of the Bankruptcy Code.
        3.       “Allowed” means, with reference to any Claim or Interest, or any portion thereof, that is (a)
specifically allowed under this Plan, (b) allowed under the Bankruptcy Code, or (c) allowed by a Final Order.
        4.      “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims, actions,
or remedies that may be brought by or on behalf of the Debtor or its Estate or other authorized parties in interest
under the Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies under sections 502,
510, 542, 544, 545, and 547 through and including 553 of the Bankruptcy Code.
         5.      “Ballot” means the form or forms distributed to certain Holders of Claims that are entitled to vote
on the Plan by which such parties may indicate acceptance or rejection of the Plan and includes both the form
distributed for use by the actual beneficial owners of the Old Notes and the form distributed for use by the bank,
broker, or other financial institution that holds the Old Notes in “street name” on behalf of one or more beneficial
owners.
      6.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as may be
amended from time to time.
       7.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of New
York or such other court having jurisdiction over the Chapter 11 Case.
        8.       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by the
United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075, as
applicable to the Chapter 11 Case and the general, local, and chambers rules of the Bankruptcy Court.
       9.      “Business Day” means any day, other than (a) a Saturday, Sunday, or a “legal holiday” (as defined
in Bankruptcy Rule 9006(a)(6)), or (b) any other day on which banks are legally permitted to be closed in New
York or Colombia.
        10.     “Capitalized Interest” means further New Notes to capitalize the accrued and unpaid interest from
(and including) the immediately preceding interest payment date to (but excluding) February 7, 2024, to the effect


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that each US$1 of accrued and unpaid interest on Old Notes validly accepted and tendered (rounded down to the
nearest US$1) will be exchanged for US$1 in principal amount of New Notes in lieu of cash.
       11.      “Cash” means the legal tender of the United States of America or the equivalent thereof, including
bank deposits and checks.
         12.     “Causes of Action” means any and all claims, actions, causes of action, choses in action, suits, debts,
demands, damages, dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants, contracts,
controversies, agreements, promises, variances, trespasses, judgments, remedies, rights of set-off, third-party claims,
subrogation claims, contribution claims, reimbursement claims, indemnity claims, counterclaims, and crossclaims
(including all claims and any avoidance, recovery, subordination, or other actions against Insiders and/or any other
Entities under the Bankruptcy Code, including Avoidance Actions) of the Debtor, the debtor in possession, and/or
the Estate, whether known or unknown, liquidated or unliquidated, fixed or contingent, matured or unmatured,
disputed or undisputed, that are or may be pending on the Effective Date or commenced by the Reorganized Debtor
after the Effective Date against any Entity, based in law or equity, including under the Bankruptcy Code, whether
direct, indirect, derivative, or otherwise and whether asserted or unasserted as of the date of entry of the
Confirmation Order.
        13.     “Chapter 11 Case” means the case pending for the Debtor under chapter 11 of the Bankruptcy
Code in the Bankruptcy Court.
        14.     “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.
         15.      “Claims and Solicitation Agent” means the claims, noticing, and/or solicitation agent the Debtor
will retain in the Chapter 11 Case pursuant to an order of the Bankruptcy Court.
       16.    “Class” means a category of Holders of Claims or Interests under section 1122(a) of the
Bankruptcy Code.
        17.     “Colombia” means the Republic of Colombia.

        18.     “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11 Case.
        19.     “Confirmation Date” means the date on which the Bankruptcy Court enters the Confirmation Order
on the docket of the Chapter 11 Case within the meaning of Bankruptcy Rules 5003 and 9021.
       20.     “Confirmation Hearing” means the hearing(s) before the Bankruptcy Court under section 1128 of
the Bankruptcy Code at which the Debtor seek entry of the Confirmation Order.
        21.    “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan under section
1129 of the Bankruptcy Code and approving the Disclosure Statement.
        22.     “Consummation” means the occurrence of the Effective Date.
        23.     “Creditor” has the meaning set forth in section 101(10) of the Bankruptcy Code.
        24.     “Cure Claim” means a Claim based on the Debtor’s defaults on an Executory Contract or Unexpired
Lease at the time such Executory Contract or Unexpired Lease is assumed by the Debtor pursuant to sections 365
or 1123 of the Bankruptcy Code.
        25.      “D&O Insurance Policies” means all insurance policies of the Debtor for directors’, managers’,
and officers’ liability existing as of the Petition Date.
        26.     “Debtor” has the meaning set forth in the introductory paragraph of this Plan.

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       27.      “Description of New Notes” means the Description of the New Notes set forth in the
Disclosure Statement.
       28.     “Disbursing Agent” means the Reorganized Debtor or any Entity selected by the Debtor or
Reorganized Debtor and identified in the Plan Supplement, as applicable, to make or facilitate distributions
contemplated under the Plan.
        29.      “Disclosure Statement” means that certain Offering Memorandum and Consent Solicitation
Statement dated as of March 7, 2024, as may be amended, supplemented, or modified from time to time, including
all exhibits and schedules thereto, to be approved by the Bankruptcy Court.
       30.      “Disputed” means, with respect to a Claim or Interest (or portion thereof), (a) that an objection to
such Claim or Interest (or portion thereof) has been filed on or before the Effective Date or (b) for which a proof of
such Claim or Interest is filed; provided that in no event shall a Claim or Interest (or portion thereof) that is deemed
Allowed pursuant to the Plan be a Disputed Claim or Interest.
         31.     “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by
the Debtor, on or after the Effective Date, upon which the Reorganized Debtor or the Disbursing Agent shall make
distributions to Holders of Allowed Claims and Interests entitled to receive distributions under the Plan.
        32.     “Distribution Record Date” means for purposes of making distributions under the Plan on account
of Allowed Claims, the Confirmation Date. Notwithstanding the foregoing, the Distribution Record Date shall not
apply to publicly held securities, the holders of which shall receive their distribution in accordance with the Plan
and the applicable procedures of DTC in exchange for such securities.
        33.      “DTC” means The Depository Trust Company.
        34.       “Effective Date” means the date that is the first Business Day after the Confirmation Date on which
all conditions precedent to the occurrence of the Effective Date set forth in Section 9.1 have been satisfied or waived
in accordance with Section 9.2.
        35.      “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.
       36.    “Estate” means the bankruptcy estate of the Debtor created under sections 301 and 541 of the
Bankruptcy Code upon the commencement of the Chapter 11 Case.
        37.     “Exchange Offer” means the out-of-court process conducted by Debtor for the exchange of the Old
Notes for the New Notes.
       38.      “Exculpated Claim” means any Claim related to any act or omission prior to the Effective Date in
connection with, relating to, or arising out of the Debtor’s in-court or out-of-court efforts to negotiate, enter into or
implement the Chapter 11 Case, the preparation, solicitation, dissemination, negotiation, or filing of the Disclosure
Statement, the Plan or any contract, instrument, release, or other agreement or document created or entered into in
connection with or pursuant to the Disclosure Statement or the Plan, the filing of the Chapter 11 Case, the
administration and implementation of the Plan, or the distribution of property under the Plan.
       39.      “Exculpated Party” means each of the following in its capacity as such: (a) the Debtor; (b) the
Reorganized Debtor; and (c) with respect to each of the foregoing Entities in clauses (a) and (b) such Entity’s
predecessors, successors and assigns, officers, directors, employees, financial advisors, attorneys, accountants,
investment bankers, consultants, representatives, and other Professionals.
       40.     “Executory Contract” means a contract or lease to which the Debtor is a party that is subject to
assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.


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        41.     “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.
         42.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction entered on the docket of such court that has not been reversed, vacated, stayed, modified,
or amended, and as to which the time to appeal, petition for certiorari, seek to review or move for reargument or
rehearing has expired and as to which no appeal, petition for certiorari or review or other proceedings for reargument
or rehearing shall then be pending, or as to which any right to appeal, petition for certiorari or review, reargue or
rehear shall have been waived in writing in form and substance satisfactory to the Debtor or the Reorganized Debtor,
or, in the event that an appeal, writ of certiorari or reargument or rehearing thereof has been sought, such order of
the Bankruptcy Court shall have been determined by the highest court to which such order was appealed, or
certiorari or review, reargument or rehearing shall have been denied and the time to take any further appeal, petition
for certiorari or review or move for reargument or rehearing shall have expired; provided, however, that the
possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Bankruptcy Rules, may be filed with respect to such order shall not preclude such order from being a Final Order.
        43.     “General Unsecured Claim” means any Claim against the Debtor other than an Administrative
Claim, a Professional Claim, an Other Secured Claim, a Priority Tax Claim or an Other Priority Claim.
        44.     “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.
        45.     “Holder” means an Entity holding a Claim or Interest.
        46.    “Impaired” means a Class of Claims or Interests that is impaired within the meaning of section
1124 of the Bankruptcy Code.
         47.     “Indemnification Provisions” means each of the Debtor’s indemnification provisions currently in
place, whether in the Debtor’s bylaws, certificates of incorporation or formation, limited liability company
agreements, other organizational or formation documents, board resolutions, management or indemnification
agreements, or employment contracts, for the Debtor’s current and former directors, officers, managers, employees,
attorneys, other professionals, and agents and such current and former directors, officers, and managers’ respective
Affiliates.
        48.     “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.
        49.     “Interest” means any membership, stock or other equity ownership interest in the Debtor and all
dividends and distributions with respect to such membership, stock or other equity ownership interest and all rights,
options, warrants (regardless of when exercised), other rights to acquire any membership, stock or other equity
ownership interest in the Debtor existing immediately prior to the Effective Date.
        50.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.
        51.     “New Corporate Governance Documents” means the form of the articles of incorporation and
bylaws, or other similar organizational and constituent documents, as may be required under applicable law, for the
Reorganized Debtor, and which forms shall be included in the Plan Supplement.
         52.      “New Notes” means the senior secured step-up notes due 2029 that the Reorganized Debtor will
issue as part of the New Notes Distribution in full satisfaction of the Old Notes Claims on the terms set forth in the
Description of New Notes in an aggregate principal amount of US$750 per US$1,000 of Old Notes.
        53.     “New Notes Distribution” means the New Notes and Capitalized Interest.
        54.     “New Notes Indenture” means the indenture governing the New Notes, which shall be consistent
with the Description of New Notes in the Disclosure Statement in all respects.


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       55.      “Old Notes” means those certain outstanding 8.875% senior notes due 2025, issued by the Debtor
pursuant to the Old Notes Indenture.
       56.      “Old Notes Claim” means any and all Claims of an Old Notes Creditor against the Debtor arising
under or in connection with the Old Notes Indenture, the Old Notes and all other financing and related documents
executed in furtherance of the issuance of the Old Notes, including for the avoidance of doubt, Capitalized Interest.
        57.     “Old Notes Creditors” means Holders of the Old Notes.
       58.   “Old Notes Indenture” means that certain Indenture, by and among the Debtor, as issuer, and The
Bank of New York Mellon, as trustee.
         59.    “Other Priority Claim” means any Claim against the Debtor other than an Administrative Claim or
a Priority Tax Claim entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.
        60.     “Other Secured Claim” means any Secured Claim against the Debtor.

        61.     “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.
       62.     “Petition Date” means the date on which the Debtor filed its petition for relief commencing the
Chapter 11 Case.
         63.     “Plan” means this chapter 11 plan, as it may be altered, amended, modified, or supplemented from
time to time, including the Plan Supplement and all exhibits, supplements, appendices, and schedules.
        64.      “Plan Supplement” means any compilation of documents and forms of documents, agreements,
schedules, and exhibits to the Plan, which shall be filed by the Debtor no later than five (5) Business Days prior to
the date first scheduled for the Confirmation Hearing, or such later date as may be approved by the Bankruptcy
Court on notice to parties in interest, and additional documents filed with the Bankruptcy Court prior to the Effective
Date as amendments to the Plan Supplement.
        65.      “Priority Tax Claim” means any Claim of a Governmental Unit against the Debtor of the kind
specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code, including a Secured Tax Claim.
         66.     “Professional” means an Entity: (a) employed in the Chapter 11 Case pursuant to a Final Order in
accordance with sections 327 and 1103 of the Bankruptcy Code and to be compensated for services rendered prior
to or on the Effective Date pursuant to sections 327, 328, 329, 330, and 331 of the Bankruptcy Code or (b) for which
compensation and reimbursement has been Allowed by the Bankruptcy Court pursuant to section 503(b)(4) of the
Bankruptcy Code.
        67.     “Professional Claim” means any Claim by a Professional for compensation for services rendered
or reimbursement of expenses incurred by such Professional on or after the Petition Date through and including the
Confirmation Date under sections 328, 330, 331, 503(b)(2), 503(b)(4), or 503(b)(5) of the Bankruptcy Code
(including transaction and success fees) to the extent such fees and expenses have not been paid pursuant to an order
of the Bankruptcy Court.
        68.     “Professional Fee Amount” means the aggregate amount of Professional Claims and other unpaid
fees and expenses that Professionals estimate they have incurred or will incur in rendering services to the Debtor
during the course of the Chapter 11 Case.
        69.     “Professional Fee Escrow Account” means an escrow account funded by the Debtor with Cash on
or before the Effective Date in an amount equal to the Professional Fee Amount.

        70.     “Proof of Claim” means a proof of Claim filed against the Debtor in the Chapter 11 Case.

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       71.      “Pro Rata” means the proportion of an Allowed Claim in a particular Class bears to the aggregate
amount of all Allowed Claims in that Class.
       72.      “Reinstated” means, with respect to Claims and Interests, treated in accordance with section
1124(2)(B) of the Bankruptcy Code.
         73.    “Reorganized Debtor” means Credivalores, or any successor thereto, by merger, consolidation, or
otherwise, on or after the Effective Date, it being understood that, as of the Effective Date, Reorganized Debtor
shall be a corporation organized under the laws of Colombia.
         74.    “SEC” means the U.S. Securities and Exchange Commission.
        75.      “Secured Claim” means a Claim against the Debtor: (a) secured by a Lien on collateral to the extent
of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or
(b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.
         76.      “Secured Tax Claim” means any Secured Claim which, absent its secured status, would be entitled
to priority in right of payment under section 507(a)(8) of the Bankruptcy Code.
         77.    “Securities” means any instruments that qualify under section 2(a)(1) of the Securities Act.
         78.     “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a-77aa, or any similar federal,
state or local law.
       79.      “Trustee” means The Bank of New York Mellon, in its capacity as trustee under the Old Notes
Indenture.
         80.      “Unclaimed Distribution” means any distribution under the Plan on account of an Allowed Claim
or Interest to a Holder that has not: (a) accepted a particular distribution or, in the case of distributions made by
check, negotiated such check; (b) given notice to the Reorganized Debtor of an intent to accept a particular
distribution; (c) responded to the Debtor’s or Reorganized Debtor’s requests for information necessary to facilitate
a particular distribution; or (d) taken any other action necessary to facilitate such distribution.
        81.     “Unexpired Lease” means a lease to which the Debtor is a party that is subject to assumption or
rejection under section 365 of the Bankruptcy Code.
        82.    “Unimpaired” means, with respect to a Claim, Interest or Class of Claims or Interests, a Claim,
Interest or Class of Claims or Interests that is not impaired within the meaning of section 1124 of the
Bankruptcy Code.
         83.    “United States Trustee” means the United States Trustee for the Southern District of New York.
         84.    “Voting Record Date” means for purposes of casting Ballots on the Plan, March 7, 2024.

1.2      Rules of Interpretation
         For purposes of the Plan: (a) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
gender shall include the masculine, feminine, and the neuter gender; (b) unless otherwise specified, any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that such document shall be substantially in such form or substantially
on such terms and conditions; (c) unless otherwise specified, any reference herein to an existing document, schedule,
or exhibit, shall mean such document, schedule, or exhibit, as it may have been or may be amended, modified, or
supplemented; (d) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or

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hereto; (e) the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to any particular
portion of the Plan; (f) captions and headings to Articles are inserted for convenience of reference only and are not
intended to be a part of or to affect the interpretation of the Plan; (g) unless otherwise specified herein, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; and (h) any term used in capitalized form
herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the
meaning assigned to such term in the Bankruptcy Code or the Bankruptcy Rules, as applicable.

1.3      Computation of Time
         Bankruptcy Rule 9006(a) applies in computing any period of time prescribed or allowed herein.

1.4      Governing Law
        Except to the extent the Bankruptcy Code or Bankruptcy Rules apply, and subject to the provisions of any
contract, lease, instrument, release, indenture, or other agreement or document entered into expressly in connection
herewith, the rights and obligations arising hereunder shall be governed by, and construed and enforced in
accordance with, the laws of the State of New York, without giving effect to conflict of laws principles.

1.5      Reference to Monetary Figures
       All references in the Plan to monetary figures refer to currency of the United States of America, unless
otherwise expressly provided.
                                            ARTICLE II
                                ADMINISTRATIVE AND PRIORITY CLAIMS
       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional Claims
and Priority Tax Claims have not been classified and thus are excluded from the Classes of Claims set forth in
ARTICLE III.

2.1      Administrative Claims
        Unless otherwise agreed to by the Holder of an Allowed Administrative Claim and the Debtor or
Reorganized Debtor, as applicable, each Holder of an Allowed Administrative Claim (other than Holders of
Professional Claims and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the
United States Code) will receive in full and final satisfaction of its Administrative Claim an amount of Cash equal
to the amount of such Allowed Administrative Claim either: (a) on the Effective Date, or as soon as reasonably
practicable thereafter; (b) if the Administrative Claim is not Allowed as of the Effective Date, no later than 30 days
after the date on which an order allowing such Administrative Claim becomes a Final Order, or as soon as
reasonably practicable thereafter; or (c) if the Allowed Administrative Claim is based on liabilities incurred by the
Debtor in the ordinary course of its business after the Petition Date in accordance with the terms and conditions of
the particular transaction giving rise to such Allowed Administrative Claim without any further action by the
Holders of such Allowed Administrative Claims.

2.2      Professional Claims
                 (a)     Final Fee Applications and Payment of Professional Claims
        All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Effective Date must be filed no later than 45 days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Claims after notice and a hearing in accordance
with the procedures established by the Bankruptcy Code. The Reorganized Debtor shall pay Professional Claims in
Cash in the amount the Bankruptcy Court allows. From and after the Confirmation Date, any requirement that


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Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate, and the Reorganized Debtor may employ and
pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

                (b)      Professional Fee Escrow Account
         On or before the Effective Date, the Debtor shall establish and fund the Professional Fee Escrow Account
with Cash equal to the Professional Fee Amount. The Professional Fee Escrow Account shall be maintained in trust
solely for the Professionals. Except as otherwise expressly set forth in the last sentence of this paragraph, such funds
shall not be considered property of the Estate of the Debtor or the Reorganized Debtor. The amount of Allowed
Professional Claims shall be paid in Cash to the Professionals by the Reorganized Debtor from the Professional Fee
Escrow Account as soon as reasonably practicable after such Professional Claims are Allowed. When such Allowed
Professional Claims have been paid in full, any remaining amount held in the Professional Fee Escrow Account
shall promptly revert to the Reorganized Debtor without any further action or order of the Bankruptcy Court.

                (c)      Professional Fee Amount
        Professionals shall reasonably estimate their unpaid Professional Claims and other unpaid fees and expenses
incurred in rendering services to the Debtor before and as of the Effective Date, and shall deliver such estimate to
the Debtor no later than five (5) Business Days before the anticipated Effective Date; provided that such estimate
shall not be deemed to limit the amount of the fees and expenses that are the subject of each Professional’s final
request for payment in the Chapter 11 Case. If a Professional does not provide an estimate, the Debtor or
Reorganized Debtor may estimate the unpaid and unbilled fees and expenses of such Professional.

                (d)      Post-Confirmation Fees and Expenses
         Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtor
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses
related to implementation of the Plan and Consummation incurred by the Debtor. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtor may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

                (e)      Substantial Contribution Compensation and Expenses
        Except as otherwise specifically provided in the Plan, any Entity that requests compensation or expense
reimbursement for making a substantial contribution in the Chapter 11 Case pursuant to sections 503(b)(3), (4), and
(5) of the Bankruptcy Code must file an application and serve such application on counsel for the Debtor or
Reorganized Debtor, as applicable, and as required by the Bankruptcy Court, the Bankruptcy Code, and the
Bankruptcy Rules on or before three (3) Business Days after the Confirmation Date.

2.3      Priority Tax Claims
         Each Holder of an Allowed Priority Tax Claim due and payable on or before the Effective Date shall receive
in full and final satisfaction, settlement, release, and discharge of and in exchange for such Holder’s Allowed
Priority Tax Claim: (a) the treatment provided by section 1129(a)(9)(C) of the Bankruptcy Code; (b) a Cash payment
on, or as soon as reasonably practicable after, the later of the Effective Date or the date on which such Priority Tax
Claim becomes an Allowed Priority Tax Claim, equal to the amount of such Allowed Priority Tax Claim; or (c)
such other less favorable treatment as may be agreed upon between the Holder of such Allowed Priority Tax Claim


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and the Debtor. If payment is made in accordance with section 1129(a)(9)(C), installment payments shall be made
quarterly and interest shall accrue in accordance with 26 U.S.C. § 6621. On the Effective Date, Liens securing such
Allowed Secured Tax Claim shall be deemed released, terminated and extinguished, in each case without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order or rule or the vote,
consent, authorization or approval of any Person. To the extent any Allowed Priority Tax Claim is not due and
owing on the Effective Date, such Claim may be paid in full in Cash in accordance with the terms of any agreement
between the Debtor and the Holder of such Claim, or as may be due and payable under applicable non-bankruptcy
law, or in the ordinary course of business.

2.4      Other Priority Claims
         Each Holder of an Allowed Other Priority Claim due and payable on or before the Effective Date shall
receive in full and final satisfaction, settlement, release, and discharge of and in exchange for such Holder’s Allowed
Other Priority Claim: (a) the treatment provided by section 1129(a)(9) of the Bankruptcy Code; (b) a Cash payment
on, or as soon as reasonably practicable after, the later of the Effective Date or the date on which such Other Priority
Claim becomes an Allowed Other Priority Claim, equal to the amount of such Allowed Other Priority Claim; or (c)
such other less favorable treatment as may be agreed upon between the Holder of such Allowed Priority Tax Claim
and the Debtor.

2.5      Trustee Fees
         On the Effective Date, the Reorganized Debtor shall pay all reasonable, documented, and unpaid fees,
expenses and out-of-pocket costs (including the reasonable and documented fees and expenses of counsel to the
Trustee and/or the trustee for the Old Notes) incurred by the Trustee and/or trustee of the Old Notes, as applicable,
through the Effective Date, except any such fees, costs and expenses as may be attributable to the gross negligence
or willful misconduct of the Trustee or the trustee for the Old Notes. Following the Effective Date, the Reorganized
Debtor shall pay all reasonable, documented, and unpaid fees, expenses and out-of-pocket costs (including the
reasonable and documented fees and expenses of counsel to the Trustee) in accordance with the New Notes
Indenture.

2.6      United States Trustee Statutory Fees
        The Debtor and Reorganized Debtor, as applicable, will pay fees payable pursuant to 28 U.S.C § 1930(a),
including fees and expenses payable to the United States Trustee, as determined by the Bankruptcy Court at a
hearing pursuant to section 1128 of the Bankruptcy Code, for each quarter (including any fraction thereof) until the
Chapter 11 Case are converted, dismissed, or closed, whichever occurs first.

                                        ARTICLE III
                   CLASSIFICATION, TREATMENT, AND VOTING OF CLAIMS AND
                                        INTERESTS
        Except for the Claims addressed in ARTICLE II, all Claims and Interests are classified in the Classes set
forth below in accordance with section 1122 of the Bankruptcy Code. A Claim or Interest is classified in a particular
Class only to the extent that the Claim or Interest qualifies within the description of that Class and is classified in
other Classes to the extent that any portion of the Claim or Interest qualifies within the description of such other
Classes. A Claim or Interest is also classified in a particular Class for the purpose of receiving distributions pursuant
to the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date. For the avoidance of doubt, Secured Tax
Claims are being addressed under Section 2.3 of the Plan.

3.1      Classification of Claims and Interests



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         Claims against and Interests in the Debtor are divided into the following lettered Classes:
   Letter        Class

 Class A         Class A consists of the Old Notes Claims.

 Class B         Class B consists of all Other Secured Claims.

 Class C         Class C consists of all General Unsecured Claims.

 Class D         Class D consists of all Interests.


3.2      Treatment of Classes of Claims and Interests
        The following chart designates the Class of Claims against and Interests in the Debtor and specifies which
of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to vote to accept or reject the Plan in
accordance with section 1126 of the Bankruptcy Code, and (c) deemed to accept or reject the Plan. The Debtor may
not have Holders of Claims or Interests in a particular Class or Classes, and such Classes shall be treated as set forth
in Section 3.4 of the Plan.


      Class         Claim or Interest                  Status                             Voting Rights

        A           Old Notes Claims                   Impaired                           Entitled To Vote


        B           Other Secured Claims               Unimpaired                         Deemed To Accept;
                                                                                          Not Entitled To Vote


        C           General Unsecured Claims           Unimpaired                         Deemed to Accept;
                                                                                          Not Entitled to Vote


        D           Interests                          Unimpaired                         Deemed To Accept;
                                                                                          Not Entitled To Vote



         Except to the extent that a Holder of an Allowed Claim against or Interest in the Debtor as applicable, agrees
to a less favorable treatment, such Holder shall receive under the Plan the treatment described below in full and
final satisfaction, settlement, release, and discharge of and in exchange for such Holder’s Allowed Claim or Interest.
Unless otherwise indicated, the Holder of an Allowed Claim or Interest, as applicable, shall receive such treatment
on the Effective Date, or as soon as reasonably practicable thereafter:

Class A (Old Notes Claims)
         (1)     Classification: Class A consists of the Old Notes Claims against the Debtor.
         (2)     Allowance: On the Effective Date, the Old Notes Claims shall be Allowed in the principal amount
                 of US$750 plus Capitalized Interest, and shall not be subject to avoidance, subordination, setoff,


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                offset, deduction, objection, challenge, recharacterization, surcharge under section 506(c) of the
                Bankruptcy Code or any other claim or defense.
         (3)    Treatment: In full and final satisfaction, settlement, release, and discharge of and exchange for each
         (4)     Allowed Old Notes Claim, each Holder of an Allowed Old Notes Claim shall receive its Pro Rata
                share of the (i) New Notes and (ii) Capitalized Interest.
         (5)    Voting: Class A is Impaired. Holders of Old Notes Claims are entitled to vote to accept or reject the
                Plan.
Class B (Other Secured Claims)
         (1)    Classification: Class B consists of all Allowed Other Secured Claims against the Debtor.
         (2)    Treatment: Each Holder of an Allowed Other Secured Claim shall, at the election of the
                Reorganized Debtor, (i) have the legal, equitable and contractual rights of such Holder Reinstated,
                or (ii) receive, at the option of the Debtor, (A) Cash in an amount equal to such Allowed Other
                Secured Claim or (B) such other treatment as renders its Allowed Other Secured Claim Unimpaired.
         (3)    Voting: Class B is Unimpaired. Holders of Allowed Other Secured Claims are conclusively
                presumed to have accepted the Plan under section 1126(f) of the Bankruptcy Code. Holders of
                Allowed Other Secured Claims are not entitled to vote to accept or reject the Plan.
Class C (General Unsecured Claims)

         (1)    Classification: Class C consists of all Allowed General Unsecured Claims against the Debtor.
         (2)    Treatment: Each Holder of an Allowed Unsecured Claim shall, at the election of the Reorganized
                Debtor, (i) have the legal, equitable and contractual rights of such Holder Reinstated, or (ii) receive,
                at the option of the Debtor, (A) Cash in an amount equal to such Allowed Unsecured Claim or
                (B) such other treatment as renders its Allowed Unsecured Claim Unimpaired.
         (3)    Voting: Class C is Unimpaired. Holders of Allowed General Unsecured Claims are conclusively
                presumed to have accepted the Plan under section 1126(f) of the Bankruptcy Code. Holders of
                Allowed General Unsecured Claims are not entitled to vote to accept or reject the Plan.
Class D (Interests)

         (1)    Classification: Class D consists of all Allowed Interests in the Debtor.
         (2)    Treatment: On the Effective Date, the Allowed Interests in the Debtor shall all be Reinstated.
         (3)    Voting: Class D is Unimpaired. Holders of Allowed Interests in the Debtor are conclusively
                presumed to have accepted the Plan under section 1126(f) of the Bankruptcy Code. Holders of
                Allowed Interests are not entitled to vote to accept or reject the Plan.
3.3      Special Provision Governing Unimpaired Claims
        Nothing under the Plan shall affect the Debtor’s rights regarding any Unimpaired Claim, including all rights
regarding legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claim.

3.4      Elimination of Vacant Classes




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        Any Class of Claims or Interests that (a) does not have a Holder of an Allowed Claim or a Claim temporarily
Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing or (b) is entitled to vote on the Plan
but with respect to which no Ballots are cast or no Ballots are deemed to be cast, shall be deemed eliminated from
the Plan for purposes of determining acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8)
of the Bankruptcy Code.

                                           ARTICLE IV
                          PROVISIONS FOR IMPLEMENTATION OF THE PLAN
4.1      General Settlement of Claims and Interests
         Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, on the Effective Date, the
provisions of the Plan shall constitute a good-faith compromise and settlement of all Claims and Interests.
Distributions made to Holders of Allowed Claims in any Class are intended to be final. Distributions made to
Holders of Allowed Claims in any Class are intended to be final. Distributions made to Holders of Allowed Claims
in any Class are intended to be final. Distributions made to Holders of Allowed Claims in any Class are intended to
be final. Distributions made to Holders of Allowed Claims in any Class are intended to be final. Distributions made
to Holders of Allowed Claims in any Class are intended to be final. Distributions made to Holders of Allowed
Claims in any Class are intended to be final. Distributions made to Holders of Allowed Claims in any Class are
intended to be final. Distributions made to Holders of Allowed Claims in any Class are intended to be final.

4.2      Subordination
        The allowance, classification, and treatment of all Claims and Interests under the Plan shall conform to and
with the respective contractual, legal, and equitable subordination rights of such Claims and Interests, and the Plan
shall recognize and implement any such rights. Pursuant to section 510 of the Bankruptcy Code, except where
otherwise provided herein, the Debtor reserves the right to re-classify any Allowed Claim or Interest in accordance
with any contractual, legal, or equitable subordination relating thereto. For the avoidance of doubt, no Claim in
Class A shall be subject to subordination.

4.3      Sources of Cash for Plan Distributions
         All Cash consideration necessary for the Reorganized Debtor to make payments or distributions pursuant
to this Plan shall be obtained from Cash of the Debtor or Reorganized Debtor.

4.4      Issuance of the New Notes
        On Effective Date, the Reorganized Debtor is authorized to issue, execute, or otherwise bring into effect,
as the case may be, to or for the benefit of the Holders of Allowed Old Notes Claims, the New Notes and any other
instruments, certificates, and other documents or agreements required to be issued, executed or delivered pursuant
to the Plan, and take any other necessary actions in connection with the foregoing, in each case without need for
further notice to or order of the Bankruptcy Court, act, or action under applicable law, regulation, order, or rule or
the vote, consent, authorization, or approval of any Entity. The issuance of the New Notes, which shall be delivered
on or as soon as practicable following the Effective Date, shall be exempt from registration under section 1145 of
the Bankruptcy Code and, to the extent applicable, under applicable securities laws. All documents, agreements and
instruments entered into and delivered on or as of the Effective Date contemplated by or in furtherance of this Plan
shall become effective and binding in accordance with their respective terms and conditions upon the parties thereto,
in each case without further notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
order, or rule or the vote, consent, authorization, or approval of any Entity (other than as expressly required by such
applicable agreement).



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4.5      Vesting of Assets in the Reorganized Debtor
        Except as otherwise provided herein, or in any agreement, instrument, or other document incorporated in
the Plan, on the Effective Date, all property in the Estate and all Causes of Action, shall vest in the Reorganized
Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and after the Effective Date, except
as otherwise provided in the Plan or any other agreement or document related thereto or entered into in connection
therewith, the Reorganized Debtor may operate its businesses and may use, acquire, or dispose of property and
compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy
Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

4.6      Discharge from Old Notes, Instruments, Certificates, and Other Documents
         On the Effective Date, except as otherwise provided in this Plan: (1) the Old Notes Indenture and any other
certificate, share, note, bond, indenture, purchase right, option, warrant, or other instrument or document, directly
or indirectly, evidencing or creating any indebtedness or obligation of or ownership interest in the Debtor giving
rise to any Claim or Interest (except such certificates, mortgages, notes, or other instruments or documents
evidencing indebtedness or obligations of or ownership interest in the Debtor that are specifically Reinstated or
otherwise not Impaired under the Plan) shall be deemed cancelled, discharged, released and extinguished, and the
Debtor shall not have any continuing obligations thereunder; and (2) the obligations of the Debtor pursuant, relating,
or pertaining to any agreements, indentures, certificates of designation, bylaws, or certificate or articles of
incorporation or similar documents governing the shares, certificates, notes, bonds, purchase rights, options,
warrants, or other instruments or documents evidencing or creating any indebtedness or obligation of or ownership
interest in the Debtor (except such agreements, certificates, mortgages, notes, or other instruments evidencing
indebtedness or obligations of or ownership interests in the Debtor that are specifically Reinstated or otherwise not
Impaired under the Plan) shall be released and discharged; provided, however, notwithstanding Confirmation or the
occurrence of the Effective Date, any such indenture or agreement that governs the rights of the Holder of a Claim
shall continue in effect solely for purposes of enabling Holders of Allowed Claims to receive distributions under
the Plan as provided herein; provided further, however, that the preceding proviso shall not affect the discharge of
Claims or Interests pursuant to the Bankruptcy Code, the Confirmation Order, or the Plan or result in any expense
or liability to the Reorganized Debtor, except to the extent set forth in or provided for under this Plan.
Notwithstanding the foregoing and solely for the purpose set forth in this sentence, the following rights of the
Trustee shall remain in effect after the Effective Date: (1) rights to payment of fees, expenses and indemnification
obligations, including from property distributed hereunder to the Trustee, whether pursuant to the exercise of a
charging lien or otherwise, (2) rights relating to distributions made to Holders of Allowed Old Notes Claims by the
Trustee from any source, including distributions hereunder, (3) rights relating to representation of the interests of
the Holders of Old Notes Claims by the Trustee in the Chapter 11 Case to the extent not discharged or released
hereunder or any order of the Bankruptcy Court, and (4) rights relating to participation by the Trustee in any
proceedings related to the Plan. On and after the Effective Date, all duties and responsibilities of the Trustee shall
be discharged unless otherwise specifically set forth in or provided for under the Plan.

4.7      Restructuring Transactions
        On the Effective Date, or as soon as reasonably practicable thereafter, the Reorganized Debtor may take all
actions as may be necessary or appropriate to effect any transaction described in, approved by, contemplated by or
necessary to effectuate the Plan, including: (1) the execution and delivery of appropriate agreements or other
documents of merger, consolidation, restructuring, conversion, disposition, transfer, dissolution, or liquidation
containing terms that are consistent with the terms of the Plan and that satisfy the applicable requirements of
applicable law and any other terms to which the applicable Entities may agree; (2) the execution and delivery of
appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability,
debt or obligation on terms consistent with the terms of the Plan and having other terms for which the applicable
parties agree; (3) the filing of appropriate certificates or articles of incorporation, reincorporation, merger,

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consolidation, conversion, or dissolution pursuant to applicable law; and (4) all other actions that the applicable
Entities determine to be necessary or appropriate, including making filings or recordings that may be required by
applicable law.

4.8      Corporate Action
        The Debtor or the Reorganized Debtor, as applicable, are authorized to take all further corporate actions
necessary to effectuate the Plan and authorize each of the matters provided for by the Plan involving the corporate
structure of the Debtor or corporate or related actions to be taken by or required of the Reorganized Debtor, whether
taken prior to or as of the Effective Date.

4.9      New Corporate Governance Documents
         Solely to the extent required by applicable non-bankruptcy law, on or immediately before the Effective
Date, the Reorganized Debtor will file its New Corporate Governance Documents with the applicable Secretaries
of State and/or other applicable authorities in the states, provinces, or countries of its incorporation in accordance
with the corporate laws of the states, provinces, or countries of its incorporation. The New Corporate Governance
Documents will be consistent with the provisions of the Plan and the Bankruptcy Code. After the Effective Date,
the Reorganized Debtor may amend and restate its New Corporate Governance Documents as permitted by the laws
of its jurisdiction of formation and its New Corporate Governance Documents.

4.10     Effectuating Documents; Further Transactions
        On and after the Effective Date, the Reorganized Debtor, and the officers and/or members of the board of
directors thereof, are authorized to and may issue, execute, deliver, file, or record such contracts, securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate
to effectuate, implement, and further evidence the terms and conditions of the Plan, without the need for any
approvals, authorizations, or consents except for those expressly required under the Plan.

4.11     Section 1146(a) Exemption
         Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property under the Plan shall not be
subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp
act, real estate transfer tax, mortgage recording tax, or other similar tax or governmental assessment, and upon entry
of the Confirmation Order, the appropriate state or local governmental officials or agents shall forgo the collection
of any such tax or governmental assessment and accept for filing and recordation any of the foregoing instruments
or other documents without the payment of any such tax, recordation fee, or governmental assessment.

4.12     Managers, Directors and Officers
        Subject to any requirement of Bankruptcy Court approval pursuant to section 1129(a)(5) of the Bankruptcy
Code, and except as may otherwise be disclosed in the Disclosure Statement, as of the Effective Date, the directors
and officers who are identified in the Plan Supplement shall serve as the initial board of directors and officers of
the Reorganized Debtor. Pursuant to section 1129(a)(5), the Debtor will disclose in the Plan Supplement, on or prior
to the Confirmation Date, the identity and affiliations of any Person proposed to serve on the Reorganized Debtor’s
boards of directors and, to the extent such Person is an Insider, the nature of any compensation for such Person.
After the Effective Date, the corporate governance and management of the Reorganized Debtor shall be determined
by the applicable board of managers or board of directors in accordance with the laws of the applicable state or
county of organization.




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4.13    Preservation of Rights of Action
        Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated, released,
compromised, or settled in the Plan or by a Final Order, in accordance with section 1123(b) of the Bankruptcy Code,
the Reorganized Debtor shall retain and may enforce all rights to commence and pursue any and all Causes of
Action, whether arising before or after the Petition Date, including any actions specifically enumerated in the Plan
Supplement, and the Reorganized Debtor’s rights to commence, prosecute, or settle such Causes of Action shall be
preserved notwithstanding the occurrence of the Effective Date. No Entity may rely on the absence of a specific
reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action against them
as any indication that the Debtor or the Reorganized Debtor will not pursue any and all available Causes of
Action against them. The Debtor and the Reorganized Debtor expressly reserve all rights to prosecute any
and all Causes of Action against any Entity, except as otherwise expressly provided in the Plan. Unless any
Causes of Action against an Entity are expressly waived, relinquished, exculpated, released, compromised, or settled
in the Plan or a Bankruptcy Court order, the Reorganized Debtor expressly reserve all Causes of Action, for later
adjudication, and, therefore no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, estoppel, judicial, equitable, or otherwise, or laches, shall apply to such Causes of
Action upon, after, or as a consequence of the Confirmation or Consummation. From and after the Effective Date,
the Debtor or the Reorganized Debtor, as applicable, shall have the exclusive right, authority and discretion to
determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw or litigate to
judgment any Cause of Action and to decline to do any of the foregoing without further notice to or action, order
or approval of the Bankruptcy Court.

        Notwithstanding any provision in the Plan or any Order entered in the Chapter 11 Case, the Debtor and
Reorganized Debtor forever waive, relinquish, and release any and all Avoidance Actions the Debtor and its estate
had, have, or may have against any Entity that is being rendered Unimpaired under the Plan and any Entity,
including Professionals, with whom the Debtor is conducting and will continue to conduct business on and after the
Effective Date.

4.14    Directors and Officers Insurance Policies
        Notwithstanding anything in the Plan to the contrary, the Reorganized Debtor shall be deemed to have
assumed all of its D&O Insurance Policies pursuant to section 365(a) of the Bankruptcy Code effective as of the
Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval of the Reorganized
Debtor’s foregoing assumption of each of the unexpired D&O Insurance Policies. Notwithstanding anything to the
contrary contained in the Plan, confirmation of the Plan shall not discharge, impair, or otherwise modify any
indemnity obligations assumed by the foregoing assumption of the D&O Insurance Policies, and each such
indemnity obligation will be deemed and treated as an Executory Contract that has been assumed by the Debtor
under the Plan as to which no Proof of Claim need be filed. In addition, after the Effective Date, the Reorganized
Debtor shall not terminate or otherwise reduce the coverage under any D&O Insurance Policy (including any “tail
policy”) in effect on the Petition Date, with respect to conduct occurring prior thereto, and all directors and officers
of the Debtor who served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits
of any such policy for the full term of such policy regardless of whether such directors and officers remain in such
positions after the Effective Date.

4.15    Indemnification Provisions in Organizational Documents
        On and from the Effective Date, and except as prohibited by applicable non-bankruptcy law, the
Reorganized Debtor shall assume or reinstate, as applicable, all indemnification obligations in place as of the
Effective Date (whether in by- laws, certificates of incorporation, board resolutions, contracts, or otherwise) for the
current and former directors, members, officers, managers, employees, attorneys, other professionals and agents of
the Debtor; provided, however, such indemnification obligations shall not apply with respect to any act or omission


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constituting gross negligence, willful misconduct, fraud, or criminal conduct as determined by a Final Order entered
by a court of competent jurisdiction, except to the extent of available insurance.

4.16     Reinstatement of Equity Interests
         On the Effective Date, all equity interests in the Debtor shall be deemed reinstated without any additional
act on the part of the Debtor or Reorganized Debtor.

4.17     Exemption from Registration Requirements
         The offering, issuance, and distribution of any Securities, including the New Notes pursuant to the Plan
shall be exempt from, among other things, the registration requirements of section 5 of the Securities Act pursuant
to section 1145 of the Bankruptcy Code, Regulation S of the Securities Act, or any other available exemption from
registration under the Securities Act, as applicable. To the extent that the issuance of the New Notes is covered by
section 1145 of the Bankruptcy Code, except as otherwise provided in the Plan or the governing certificates or
instruments, the New Notes issued under the Plan will be freely tradable under the Securities Act by the recipients
thereof, subject to: (a) the provisions of section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
underwriter in section 2(a)(11) of the Securities Act, and compliance with any applicable state or foreign securities
laws, if any, and any rules and regulations of the SEC, if any, applicable at the time of any future transfer of such
Securities or instruments, including any such restrictions any agreement governing the New Notes; (b) the
restrictions, if any, on the transferability of such securities and instruments; and (c) any other applicable
regulatory approval.
                                    ARTICLE V
               TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

5.1      Assumption and Rejection of Executory Contracts and Unexpired Leases
         On the Effective Date, except as otherwise provided herein or in any contract, instrument, release, indenture,
or other agreement entered into in connection with the Plan, Executory Contracts and Unexpired Leases shall be
deemed assumed as of the Effective Date, unless such Executory Contract or Unexpired Lease (1) was assumed or
rejected previously by the Debtor, (2) previously expired or terminated pursuant to its own terms, or (3) is the
subject of a motion to reject filed on or before the Effective Date, if any. Entry of the Confirmation Order shall
constitute a Bankruptcy Court order approving the assumption of such Executory Contracts or Unexpired Leases as
set forth in the Plan, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated,
assumptions of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective
Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by a Bankruptcy Court order
shall re-vest in and be fully enforceable by the applicable contracting Reorganized Debtor in accordance with its
terms notwithstanding any provision in such assumed Executory Contract or Unexpired Lease that prohibits,
restricts or conditions such assumption, assignment or transfer. Any provision in the assumed Executory Contracts
and Unexpired Leases that purports to declare a breach or default based in whole or in part on the commencement
or continuance of the Chapter 11 Case or any successor case is hereby deemed unenforceable.

5.2      Claims Based on Rejection of Executory Contracts or Unexpired Leases
       Claims arising from the rejection of any Executory Contract or Unexpired Lease shall be classified as a
General Unsecured Claim and shall be treated in accordance with ARTICLE III, as applicable.

5.3      Cure of Defaults for Executory Contracts and Unexpired Leases Assumed
         Claims or defaults arising or becoming due under any assumed Executory Contract or Unexpired Lease
after the effective date of assumption of the applicable assumed Executory Contract or Unexpired Lease are to be
paid in full in the ordinary course by the applicable Debtor or Reorganized Debtor, as applicable, subject to the

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rights of the Debtor or Reorganized Debtor, as applicable, to assert or apply, as applicable, any defenses, setoffs,
credits, or discounts available under the applicable assumed Executory Contract or Unexpired Lease or under
applicable non-bankruptcy law, and, for the avoidance of doubt, such Claims or defaults shall not be released,
expunged, discharged, or enjoined by the Plan or the Confirmation Order and there shall be no need or requirement
for the counterparty to such Executory Contract or Unexpired Lease to file an Administrative Claim for such Claim
or default. Nothing in the Plan releases or discharges the applicable Debtor or Reorganized Debtor from (1)
obligations to fully satisfy Cure Claims on the Effective Date, or to the extent a dispute exists regarding the Cure
Claim, upon entry of a Final Order resolving the dispute or upon mutual agreement between the applicable Debtor
or Reorganized Debtor and the applicable counterparty, or (2) Claims, defaults or obligations arising or becoming
due under any assumed Executory Contract or Unexpired Lease after the effective date of such assumption of the
applicable assumed Executory Contract or Unexpired Lease pursuant to the terms thereof.
        In the event of a dispute regarding (1) the amount of any payment to cure such a default, (2) the ability of
the applicable Reorganized Debtor to provide “adequate assurance of future performance” (within the meaning of
section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or (3) any
other matter pertaining to assumption, the cure payment, if any, required by section 365(b)(1) of the Bankruptcy
Code shall be made following the entry of a Final Order or orders resolving the dispute and approving
the assumption.
         The assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall result
in the full release and satisfaction of any Claims or defaults, whether monetary or nonmonetary, including defaults
of provisions restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any assumed Executory Contract or Unexpired Lease at any time before the date the
applicable Debtor or Reorganized Debtor assume such Executory Contract or Unexpired Lease. Any Proofs of
Claim filed with respect to an Executory Contract or Unexpired Lease that has been assumed shall be deemed
disallowed and expunged, without further notice to or action, order, or approval of the Bankruptcy Court.

5.4      Insurance Policies
        All of the Debtor’s insurance policies and any agreements, documents, or instruments relating thereto,
including the D&O Insurance Policies, shall be treated as and deemed to be Executory Contracts under the Plan. As
of the Effective Date, the Debtor shall be deemed to have assumed all insurance policies and any agreements,
documents, and instruments related thereto.

5.5      Indemnification Provisions
        As of the Effective Date, the Debtor and Reorganized Debtor, as applicable, shall be deemed to have
assumed all of the Indemnification Provisions in place on or before the Effective Date for Claims related to or in
connection with any actions, omissions, or transactions occurring before the Effective Date. Entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the Debtor’s foregoing assumption of each
of the Indemnification Provisions. Notwithstanding anything to the contrary contained herein, (1) Confirmation
shall not discharge, impair, or otherwise modify any obligations assumed by the foregoing assumption of the
Indemnification Provisions, (2) each such obligation shall be deemed and treated as an Executory Contract that has
been assumed by the Debtor under the Plan and as to which no Proof of Claim need be filed, and (3) as of the
Effective Date, the Indemnification Provisions shall be binding and enforceable against the Reorganized Debtor.

5.6      Benefit Programs
        As of the Effective Date, all employee compensation and benefit programs of the Debtor, including
programs subject to section 1114 and 1129(a)(13) of the Bankruptcy Code, if any, entered into before or after the
Petition Date and not since terminated, shall be deemed to be, and shall be treated as though they are, Executory
Contracts that are assumed under the ARTICLE VI, but only to the extent that rights under such programs are held

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by the Debtor or Persons who are employees of the Debtor as of the Confirmation Date; provided, however, that
nothing herein shall extend or otherwise modify the duration of any such program or prohibit the Debtor or the
Reorganized Debtor from modifying the terms and conditions of any such program or benefits as otherwise
permitted by such program and applicable nonbankrutpcy law.

5.7      Modifications, Amendments, Supplements, Restatements or Other Agreements
        Unless otherwise provided for in the Plan, each Executory Contract or Unexpired Lease that is assumed
shall include all modifications, amendments, supplements, restatements, or other agreements that in any manner
affect such Executory Contract or Unexpired Lease, including easements, licenses, permits, rights, privileges,
immunities, options, rights of first refusal, and any other interests. Modifications, amendments, supplements, and
restatements to prepetition Executory Contracts and Unexpired Leases that have been executed by the Debtor during
the Chapter 11 Case shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

5.8      Reservation of Rights
        If there is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of
such assumption or rejection, the Debtor or Reorganized Debtor, as applicable, shall have twenty-eight (28) calendar
days following entry of a Final Order resolving such dispute to alter their treatment of such contract or lease,
including by assuming or rejecting such contract or lease.

5.9      Nonoccurrence of the Effective Date
         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to extend the deadline for assuming or rejecting unexpired leases pursuant to section 365(d)(4)
of the Bankruptcy Code.

5.10     Contracts and Leases Entered into After the Petition Date
        Contracts and leases entered into after the Petition Date by the Debtor will be performed by the Debtor or
Reorganized Debtor liable thereunder in the ordinary course of the Debtor’s business. Accordingly, such contracts
and leases will survive and remain unaffected by entry of the Confirmation Order.
                                             ARTICLE VI
                                 PROVISIONS GOVERNING DISTRIBUTIONS
6.1      Distributions on Account of Claims Allowed as of the Effective Date
         Except as otherwise provided in the Plan, a Final Order, or as otherwise agreed to by the Debtor or the
Reorganized Debtor (as the case may be) and the Holder of the applicable Allowed Claim, on the Distribution Date,
the Reorganized Debtor shall make initial distributions under the Plan on account of Claims Allowed on or before
the Effective Date, subject to the Debtor’s and Reorganized Debtor’s right to object to Claims; provided, however,
that (1) Allowed Administrative Claims with respect to liabilities incurred by the Debtor in the ordinary course of
business during the Chapter 11 Case prior to the Effective Date shall be paid or performed in the ordinary course
of business in accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice and (2) Allowed Priority Tax Claims shall be paid in accordance with Section 2.3. To
the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim may be paid in
full in Cash in accordance with the terms of any agreement between the particular Debtor or the Reorganized Debtor
(as the case may be) and the Holder of such Claim or as may be due and payable under applicable non-bankruptcy
law or in the ordinary course of business.




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6.2      Special Rules for Distributions to Holders of Disputed Claims
         Notwithstanding any provision to the contrary in the Plan and except as otherwise agreed by the relevant
parties: (1) no partial payments and no partial distributions shall be made with respect to a Disputed Claim until all
such disputes in connection with such Disputed Claim have been resolved by settlement or Final Order and (2) any
Entity that holds both an Allowed Claim and a Disputed Claim shall not receive any distribution on the Allowed
Claim unless and until all objections to the Disputed Claim have been resolved by settlement or Final Order or the
Claim has been Allowed or expunged. Any dividends or other distributions arising from property distributed to
Holders of Allowed Claims in a Class and paid to such Holders under the Plan shall be paid also, in the applicable
amounts, to any Holder of a Disputed Claim, as applicable, in such Class that becomes an Allowed Claim after the
date or dates that such dividends or other distributions were earlier paid to Holders of Allowed Claims in such Class.

6.3      Disbursing Agent
         Except as otherwise provided in the Plan, all distributions under the Plan shall be made by the Disbursing
Agent on or as soon as practicable after the Effective Date. To the extent the Disbursing Agent are the Reorganized
Debtor, the Disbursing Agent shall not be required to give any bond or surety or other security for the performance
of its duties unless otherwise ordered by the Bankruptcy Court.
        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as
may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement, the provisions hereof.
       Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and out-of-pocket
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any reasonable
compensation and out-of-pocket expense reimbursement claims (including reasonable attorney fees and expenses)
made by the Disbursing Agent may be paid in Cash by the Reorganized Debtor.

6.4      Distributions on Account of Old Notes Claims
        On or as soon as is reasonably practicable after the Effective Date, the Reorganized Debtor or the Disbursing
Agent shall distribute the New Notes Distribution in accordance with the terms of this ARTICLE VI and the Plan
Supplement. Holders of Old Notes will receive their pro rata share of the New Notes Distribution in exchange for
the Old Notes. The method for issuance of the New Notes will be described in greater detail in the Plan Supplement.

        Holders of Old Notes who do not fulfill the requirements noted above and, if applicable, in the Plan
Supplement for the receipt of their pro rata share of the New Notes Distribution within one hundred and eighty (180)
days after the Effective Date shall forfeit their entitlement to a distribution under the Plan, shall not participate in
any distribution under the Plan, and shall have their Claims on account of the Old Notes discharged. Any property
in respect of such forfeited Old Notes Claims would revert to the Reorganized Debtor.

6.5      Delivery of Distributions and Undeliverable or Unclaimed Distributions
                (a)      Delivery of Distributions
        Except as otherwise provided in the Plan (including in Section 6.4 above), distributions to Holders of
Allowed Claims shall be made to Holders of record as of the Distribution Record Date by the Reorganized Debtor
or the Disbursing Agent, as appropriate: (a) at the addresses set forth in any written notices of address changes
delivered to the Reorganized Debtor or the applicable Disbursing Agent, as appropriate or (b) on any counsel that
has appeared in the Chapter 11 Case on the Holder’s behalf. The Debtor shall have no obligation to recognize any
transfer of Claims or Interests occurring on or after the Distribution Record Date; provided, however, that

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distributions on account of the Old Notes Claims shall be made in accordance with Section 6.4 above. Subject to
this ARTICLE VI, distributions under the Plan on account of Allowed Claims shall not be subject to levy,
garnishment, attachment, or like legal process, so that each Holder of an Allowed Claim shall have and receive the
benefit of the distributions in the manner set forth in the Plan. The Debtor, the Reorganized Debtor, and the
Disbursing Agent, as applicable, shall not incur any liability whatsoever on account of any distributions under the
Plan except for fraud, gross negligence, or willful misconduct.

                (b)     Minimum; De Minimis Distributions.
         Notwithstanding anything to the contrary contained in the Plan, the Disbursing Agent shall not be required
to distribute Cash or other property to the Holder of any Allowed Claim or Allowed Interest if the amount of Cash
or other property to be distributed on account of such Allowed Claim or Allowed Interest is less than US$100. Any
Holder of an Allowed Claim or Allowed Interest on account of which the amount of Cash or other property to be
distributed is less than such amount shall have such Claim or Interest, as applicable, discharged and shall be forever
barred from asserting such Claim or Interest against the Debtor, the Reorganized Debtor, or their respective property.
Any Cash or other property not distributed pursuant to this provision shall be the property of the Reorganized Debtor.

                (c)     Fractional New Notes or Amounts Less than Integral Multiples
         The New Notes will be issued in minimum denominations of US$1,000 and integral multiples of US$1.00
in excess thereof. Notwithstanding any other provision in the Plan to the contrary, no fractional amounts of New
Notes shall be issued or distributed pursuant to the Plan. Whenever any distribution under the Plan would yield a
distribution of New Notes below the integral requirement, the actual distribution shall reflect a rounding of such
amount down to the nearest US$1.00. Upon the allocation of all of the whole New Notes authorized under the Plan,
all remaining portions of the entitlements shall be canceled and shall be of no further force and effect. For
distribution and rounding purposes, DTC will be considered a single holder.

                (d)     Compliance Matters
         In connection with the Plan, to the extent applicable, the Reorganized Debtor or the Disbursing Agent shall
comply with all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions pursuant to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding
any provision in the Plan to the contrary, the Reorganized Debtor or the Disbursing Agent shall be authorized to
take all actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Reorganized Debtor reserves
the right to allocate all distributions made under the Plan in compliance with all applicable wage garnishments,
alimony, child support, and other spousal awards, liens, and encumbrances. All Persons holding Claims shall be
required to provide any information necessary to effect information reporting and the withholding of such taxes.
Notwithstanding any other provision of this Plan to the contrary, (a) each Holder of an Allowed Claim shall have
the sole and exclusive responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income, withholding and other tax obligations, on account of such distribution, and
(b) no distribution shall be made to or on behalf of such Holder pursuant to the Plan unless and until such Holder
has made arrangements satisfactory to the Reorganized Debtor for the payment and satisfaction of such tax
obligations.

                (e)     Cash Payments
       Except as otherwise set forth in this Section 6.5(e), distributions of Cash under the Plan shall be made by
the Reorganized Debtor or the Disbursing Agent on behalf of the Debtor in U.S. dollars. At the option of the
Disbursing Agent, any Cash payment to be made hereunder may be made by check or wire transfer or as otherwise

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required or provided in applicable agreements. Cash payments to creditors outside of the United States of America
may be made, at the option of the Reorganized Debtor or the Disbursing Agent, in such funds and by such means
as are necessary or customary in a particular foreign jurisdiction.

                   (f)   Undeliverable and Unclaimed Distributions
                                (1)      Undeliverable Distributions. If any distribution to a Holder of an Allowed
                                         Claim is returned to the Reorganized Debtor or the Disbursing Agent as
                                         undeliverable or is otherwise unclaimed, no further distributions shall be
                                         made to such Holder unless and until the Reorganized Debtor or the
                                         Disbursing Agent are notified in writing of such Holder’s then-current
                                         address or other necessary information for delivery. Subject to the
                                         succeeding sentence, the Reorganized Debtor or their duly appointed
                                         disbursing agent shall retain undeliverable distributions until such time as
                                         a distribution becomes deliverable. Each Holder of an Allowed Claim
                                         whose distribution remains (i) undeliverable for one hundred and eighty
                                         (180) days after the distribution is returned as undeliverable or (ii)
                                         otherwise has not been deposited, endorsed or negotiated within one
                                         hundred and eighty (180) days of the date of issuance shall have no claim
                                         to or interest in such distribution and shall be forever barred from receiving
                                         any distribution under the Plan. Nothing contained in this Plan shall require
                                         the Debtor, the Reorganized Debtor or the Disbursing Agent to attempt to
                                         locate any Holder of an Allowed Claim.
                                (2)      Reversion. Any distribution under the Plan that is an Unclaimed
                                         Distribution for a period of one hundred and eighty (180) days after
                                         distribution shall be deemed unclaimed property under section 347(b) of
                                         the Bankruptcy Code and such Unclaimed Distribution shall revest in the
                                         Reorganized Debtor. Upon such revesting, the Claim or Interest of any
                                         Holder or its successors with respect to such property shall be cancelled,
                                         discharged, and forever barred notwithstanding any applicable federal or
                                         state escheat, abandoned, or unclaimed property laws, or any provisions in
                                         any document governing the distribution that is an Unclaimed Distribution,
                                         to the contrary.
6.6      Setoffs
         Except as otherwise expressly provided herein, the Reorganized Debtor, pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed to by the
Holder of a Claim, may set off against any Allowed Claim and the distributions to be made pursuant to the Plan on
account of such Allowed Claim (before any distribution is made on account of such Allowed Claim), any Claims,
rights, and Causes of Action of any nature that the Debtor or Reorganized Debtor, as applicable, may hold against
the Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action against such Holder have
not been otherwise compromised or settled on or prior to the Effective Date (whether pursuant to the Plan or
otherwise); provided, however, that neither the failure to effect such a setoff nor the allowance of any Claim
pursuant to the Plan shall constitute a waiver or release by the Reorganized Debtor of any such Claims, rights, and
Causes of Action that the Reorganized Debtor may possess against such Holder. In no event shall any Holder of
Claims be entitled to set off any Claim against any Claim, right, or Cause of Action of the Debtor or Reorganized
Debtor, as applicable, unless such Holder has filed a motion with the Bankruptcy Court requesting the authority to
perform such setoff on or before the Confirmation Date, and notwithstanding any indication in any Proof of Claim



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or otherwise that such Holder asserts, has, or intends to preserve any right of setoff pursuant to section 553 or
otherwise. For the avoidance of doubt, no Claim in Class A shall be subject to setoff.

6.7      Allocation Between Principal and Accrued Interest
         Except as otherwise provided in the Plan and to the extent permitted by applicable law, the aggregate
consideration paid to Holders with respect to their Allowed Claims shall be treated pursuant to the Plan for income
tax purposes as allocated first to the principal amount of such Allowed Claims (to the extent thereof) and, thereafter,
to the interest accrued through and including the Effective Date.

6.8      No Postpetition or Default Interest on Claims
         Unless otherwise specifically provided for in the Plan or the Confirmation Order and notwithstanding any
documents that govern the Debtor’s prepetition indebtedness to the contrary, (1) postpetition and/or default interest
shall not accrue or be paid on any Claims, and (2) no Holder of a Claim shall be entitled to (a) interest accruing on
or after the Petition Date on any such Claim or (b) interest at the contract default rate, each as applicable.
                                         ARTICLE VII
                           PROCEDURES FOR RESOLVING DISPUTED CLAIMS
7.1      Disputed Claims
        In the event that the Debtor disputes a Claim, such Claim shall be Disputed unless Allowed or disallowed
by a Final Order or as otherwise set forth in this ARTICLE VII. Except as otherwise provided herein, all Proofs of
Claim filed after the Effective Date shall be expunged without the need for any objection by the Reorganized Debtor
or any further notice to or action, order, or approval of the Bankruptcy Court. On and after the Effective Date, the
Reorganized Debtor may settle any Claims for which a Proof of Claim has been filed or for which a Proof of Claim
has not been filed, without further notice to or approval of the Bankruptcy Court, the Claims and Solicitation Agent,
or any other party.

7.2      Resolution of Disputed Claims
         Except insofar as a Claim is Allowed under the Plan, the Debtor or the Reorganized Debtor, as applicable,
shall be entitled to object to the Claim. Any objections to Claims shall be served and filed on or before the 120th
day after the Effective Date or by such later date as ordered by the Bankruptcy Court. Notwithstanding any authority
to the contrary, an objection to a Claim shall be deemed properly served on the Holder thereof if service is effected
in any of the following manners: (a) in accordance with Rule 4 of the Federal Rules of Civil Procedure, as modified
and made applicable by Bankruptcy Rule 7004; or (b) by first class mail, postage prepaid, on any counsel that has
appeared on the Holder’s behalf in the Chapter 11 Case. The Debtor and the Reorganized Debtor shall be authorized
to, and shall resolve all Disputed Claims or Interests by withdrawing or settling such objections thereto, or by
litigating to Final Order in the Bankruptcy Court the validity, nature and/or amount thereof. All Claims not objected
to by the end of such 120-day period shall be deemed Allowed unless such period is extended upon approval of the
Bankruptcy Court. For the avoidance of doubt, except as otherwise provided in the Plan, from and after the Effective
Date, the Reorganized Debtor shall have and retain any and all rights and defenses the Debtor had immediately
prior to the Effective Date with respect to any Disputed Claim, including the Causes of Action retained pursuant to
Section 4.13.

7.3      Estimation of Claims
        The Debtor or the Reorganized Debtor, as applicable, may (but are not required to) at any time request that
the Bankruptcy Court estimate any Disputed Claim that is contingent or unliquidated in accordance with section
502(c) of the Bankruptcy Code for any reason, regardless of whether any Entity previously has objected to such
Claim or Interest or whether the Bankruptcy Court has ruled on any such objection. If the Bankruptcy Court

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estimates any contingent or unliquidated Claim or Interest, the estimated amount shall constitute a maximum
limitation on such Claim or Interest for all purposes under the Plan (including for purposes of distributions), and
the Reorganized Debtor may elect to pursue any supplemental proceedings to object to any ultimate distribution on
such Claim or Interest.

7.4      No Interest
        Unless otherwise expressly provided in the Plan or by order of the Bankruptcy Court, postpetition interest
shall not accrue or be paid on Claims, and no Holder of a Claim shall be entitled to interest accruing on or after the
Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest shall not accrue or be
paid on any Disputed Claim with respect to the period from the Effective Date to the date a final distribution is
made on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

7.5      No Distributions Pending Allowance
        Notwithstanding any other provision of this Plan to the contrary, no payments or distributions of any kind
or nature shall be made with respect to all or any portion of a Disputed Claim unless and until all objections to such
Disputed Claim have been settled or withdrawn or have been determined by Final Order and the Disputed Claim
has become an Allowed Claim. Distributions on account of Disputed Claims that become Allowed Claims shall be
made pursuant to Section 6.2.

7.6      Disallowance of Claims and Interests
        All Claims of any Entity from which property is sought by the Debtor under section 542, 543, 550, or 553
of the Bankruptcy Code or that the Debtor or the Reorganized Debtor allege is a transferee of a transfer that is
avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be
disallowed if: (a) the Entity, on the one hand, and the Debtor or the Reorganized Debtor, on the other hand, agree
or the Bankruptcy Court has determined by Final Order that such Entity or transferee is liable to turn over any
property or monies under any of the aforementioned sections of the Bankruptcy Code and (b) such Entity or
transferee has failed to turn over such property by the date set forth in such agreement or Final Order.
7.7      Adjustment to Claims Without Objection
         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged by the Reorganized Debtor without the Reorganized Debtor having to file
an application, motion, complaint, objection, or any other legal proceeding seeking to object to such Claim or
Interest, and without any further notice to or action, order, or approval of the Bankruptcy Court.
                                            ARTICLE VIII
                                EFFECT OF CONFIRMATION OF THE PLAN
8.1      Compromise and Settlement of Claims, Interests, and Controversies
         Pursuant to sections 363 and 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration
for the distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a
good faith compromise of all Claims and controversies relating to the contractual, legal, and subordination rights
that a Holder of a Claim may have with respect to any Allowed Claim or Allowed Interest or any distribution to be
made on account of such Allowed Claim or Allowed Interest. The entry of the Confirmation Order shall constitute
the Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and controversies,
as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best interests of the Debtor,
its Estate, and Holders of Claims and Interests, and is fair, equitable, and reasonable. In accordance with the
provisions of the Plan, pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019(a), without any


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further notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the Reorganized
Debtor may compromise and settle Claims against them and Causes of Action against other Entities.

8.2      Discharge of Claims and Termination of Interests
        Except as otherwise provided for herein and effective as of the Effective Date: (a) the rights afforded
in the Plan and the treatment of all Claims and Interests shall be in exchange for and in complete satisfaction,
discharge, and release of all Claims and Interests of any nature whatsoever, including any interest accrued
on such Claims from and after the Petition Date, against the Debtor or any of their assets, property, or Estate;
(b) the Plan shall bind all Holders of Claims and Interests, notwithstanding whether any such Holders failed
to vote to accept or reject the Plan or voted to reject the Plan; (c) all Claims and Interests shall be satisfied,
discharged, and released in full, and the Debtor’s liability with respect thereto shall be extinguished
completely, including any liability of the kind specified under section 502(g) of the Bankruptcy Code; and (d)
all Entities shall be precluded from asserting against the Debtor, the Debtor’s Estate, the Reorganized Debtor,
their successors and assigns, and their assets and properties any other Claims or Interests based upon any
documents, instruments, or any act or omission, transaction, or other activity of any kind or nature that
occurred prior to the Effective Date.

8.3      Exculpation
        No Exculpated Party shall have or incur, and each Exculpated Party is hereby released and
exculpated from any Exculpated Claim or any obligation, Cause of Action, or liability for any Exculpated
Claim; provided, however, that the foregoing “exculpation” shall have no effect on the liability of any Entity
that results from any such act or omission that is determined in a Final Order to have constituted fraud,
gross negligence, or willful misconduct; provided, further, that in all respects such Entities shall be entitled
to reasonably rely upon the advice of counsel with respect to their duties and responsibilities pursuant to, or
in connection with, the Plan. The Exculpated Parties have, and upon Confirmation shall be deemed to have,
participated in good faith and in compliance with the applicable provisions of the Bankruptcy Code with
regard to the solicitation of acceptances and rejections of the Plan and the making of distributions pursuant
to the Plan and, therefore, are not and shall not be liable at any time for the violation of any applicable, law,
rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan. Nothing herein shall limit the liability of attorneys to their respective clients
pursuant to Rule 1.8(h) of the New York Rules of Professional Conduct.

8.4      Injunction
        Except as otherwise provided herein or for obligations issued pursuant hereto, all Entities that have
held, hold, or may hold Claims or Interests that have been discharged pursuant to Section 8.2, or are subject
to exculpation pursuant to Section 8.33, are permanently enjoined, from and after the Effective Date, from
taking any of the following actions against, as applicable, the Debtor, the Reorganized Debtor, or the
Exculpated Parties: (a) commencing or continuing in any manner any action or other proceeding of any kind
on account of or in connection with or with respect to any such Claims or Interests; (b) enforcing, attaching,
collecting, or recovering by any manner or means any judgment, award, decree, or order against such
Entities on account of or in connection with or with respect to any such Claims or Interests; (c) creating,
perfecting, or enforcing any encumbrance of any kind against such Entities or the property or Estate of such
Entities on account of or in connection with or with respect to any such Claims or Interests; (d) asserting any
right of setoff, subrogation, or recoupment of any kind against any obligation due from such Entities or
against the property or Estate of such Entities on account of or in connection with or with respect to any such
Claims or Interests unless such Holder has filed a motion requesting the right to perform such setoff on or
before the Confirmation Date; and (e) commencing or continuing in any manner any action or other



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proceeding of any kind on account of or in connection with or with respect to any such Claims or Interests
released, exculpated, or settled pursuant to the Plan.

8.5      Protection Against Discriminatory Treatment
        In accordance with section 525 of the Bankruptcy Code, and consistent with paragraph 2 of Article VI of
the United States Constitution, no Governmental Unit shall discriminate against the Reorganized Debtor, or any
Entity with which the Reorganized Debtor have been or are associated, solely because the Reorganized Debtor was
a debtor under chapter 11, may have been insolvent before the commencement of the Chapter 11 Case (or during
the Chapter 11 Case but before the Debtor were granted or denied a discharge), or have not paid a debt that is
dischargeable in the Chapter 11 Case.

8.6      Recoupment
        In no event shall any Holder of Claims or Interests be entitled to recoup any Claim or Interest against any
Claim, right, or Cause of Action of the Debtor or the Reorganized Debtor, as applicable, unless such Holder actually
has performed such recoupment and provided notice thereof in writing to the Debtor on or before the Confirmation
Date, notwithstanding any indication in any Proof of Claim or Interest or otherwise that such Holder asserts, has,
or intends to preserve any right of recoupment.

8.7      Release of Liens
         Except as other provided in the Plan or in any contract, instrument, release, or other agreement or document
created pursuant to the Plan, on the Effective Date and concurrently with the applicable distributions made pursuant
to the Plan, and except with respect to the Liens securing Other Secured Claims or Secured Tax Claims (depending
on the treatment of such Claims), all mortgages, deeds of trust, Liens, pledges, or other security interests relating to
or arising from the Old Notes shall be fully released and discharged in connection with the execution of the New
Notes Indenture and issuance of the New Notes as contemplated by Section 4.4 hereof, and all of the right, title,
and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall vest and
revert to the Reorganized Debtor and its successors and assigns. In addition, the Trustee shall execute and deliver
all documents to evidence the release of mortgages, deeds of trust, Liens, pledges, and other security interests related
to the Old Notes and shall authorize the Reorganized Debtor to file UCC-3 termination statements or their equivalent
(to the extent applicable) with respect thereto.

8.8      Reimbursement or Contribution
         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the Effective
Date, such Claim shall be forever disallowed notwithstanding section 502(j) of the Bankruptcy Code, unless prior
to the Effective Date (a) such Claim has been adjudicated as noncontingent or (b) the relevant Holder of a Claim
has filed a noncontingent Proof of Claim on account of such Claim and a Final Order has been entered determining
such Claim as no longer contingent.

                                          ARTICLE IX
                          CONDITIONS PRECEDENT TO THE EFFECTIVE DATE
9.1      Conditions Precedent to the Effective Date.
       It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to Section 9.2 of the Plan:

                (a)      the Confirmation Order shall have been entered and become a Final Order, and such Final
         Order shall not have been stayed, modified, or vacated on appeal;


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                 (b)     no Governmental Unit shall have issued any ruling or order enjoining the consummation of
         the Plan in a way that cannot be reasonably remedied by the Debtor or the Reorganized Debtor;
                 (c)     all professional fees and expenses of retained Professionals that require the approval of the
         Bankruptcy Court shall have been paid in full or amounts sufficient to pay such fees and expenses after the
         Effective Date shall have been placed in the Professional Fee Escrow Account pending the approval of such
         fees and expenses by the Bankruptcy Court;
                 (d)      all necessary consents, approvals and actions of, filings with and notices to any
         governmental or regulatory authority necessary to permit the Debtor to consummate the Plan shall have
         been duly obtained, made or given and shall be in full force and effect, and all terminations or expirations
         of waiting periods imposed by any governmental or regulatory authority necessary for the consummation
         of the Plan shall have occurred; and
                 (e)      this Plan and all documents and agreements necessary to implement the Plan, including the
         New Corporate Governance Documents and any other agreement or document related to the foregoing or
         entered into in connection therewith (including documents effectuating affiliate guaranties or asset pledges),
         shall have: (i) all conditions precedent to such documents and agreements satisfied or waived pursuant to
         the terms of such documents or agreements; (ii) been tendered for delivery to the required parties and, to
         the extent required, filed with and approved by any applicable Governmental Units in accordance with
         applicable laws; and (iii) been effected or executed.
9.2      Waiver of Conditions Precedent
        The Debtor may amend, modify, supplement or waive any of the conditions to the Effective Date set forth
in Section 9.1 other than Section 9.1(c), at any time without any notice to any other parties in interest and without
any further notice to or action, order, or approval of the Bankruptcy Court, and without any formal action other than
proceeding to confirm or consummate the Plan.

9.3      Effect of Non-Occurrence of Conditions to Consummation
         If prior to Consummation, the Confirmation Order is vacated pursuant to a Final Order, then except as
provided in any order of the Bankruptcy Court vacating the Confirmation Order, the Plan will be null and void in
all respects, and nothing contained in the Plan or Disclosure Statement shall: (a) constitute a waiver or release of
any Claims, Interests, or Causes of Action; (b) prejudice in any manner the rights of the Debtor or any other Entity;
or (c) constitute an admission, acknowledgment, offer, or undertaking of any sort by the Debtor or any other Entity.

                                       ARTICLE X
                  MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN
10.1     Modification of Plan
        Effective as of the date hereof: (a) the Debtor, in accordance with the Bankruptcy Code and the Bankruptcy
Rules, may amend or modify the Plan before the entry of the Confirmation Order; and (b) after the entry of the
Confirmation Order, the Debtor or the Reorganized Debtor, as applicable, may, upon order of the Bankruptcy Court,
amend or modify the Plan, in accordance with section 1127(b) of the Bankruptcy Code, remedy any defect or
omission, or reconcile any inconsistency in the Plan in such manner as may be necessary to carry out the purpose
and intent of the Plan, subject to the limitations set forth herein.

10.2     Revocation or Withdrawal of Plan
       The Debtor reserves the right to revoke or withdraw the Plan before the Confirmation Date and to file
subsequent chapter 11 plans. If the Debtor revokes or withdraws the Plan, or if Confirmation or the Effective Date


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does not occur, then: (a) the Plan will be null and void in all respects; (b) any allowance of a Claim or any other
settlement or compromise embodied in the Plan, and any document or agreement executed pursuant hereto will be
null and void in all respects; and (c) nothing contained in the Plan shall (1) constitute a waiver or release of any
Claims, Interests, or Causes of Action, (2) prejudice in any manner the rights of the Debtor or any other Entity, or
(3) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtor or any other Entity.

                                               ARTICLE XI
                                        RETENTION OF JURISDICTION
11.1    Jurisdiction
        Pursuant to sections 105(a) and 1142 of the Bankruptcy Code and notwithstanding the entry of the
Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall retain jurisdiction over
all matters arising in, arising under and/or related to the Chapter 11 Case and the Plan to the fullest extent permitted
by applicable law, including jurisdiction to:
        (a)     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or
unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment of any
Claim or Interest and the resolution of any and all objections to the secured or unsecured status, priority, amount,
or allowance of Claims or Interests;
        (b)      decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
the Bankruptcy Code or the Plan;
        (c)     ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the provisions
of the Plan;
       (d)     adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters,
and any other matters, and grant or deny any applications involving the Debtor that may be pending on the Effective
Date;
        (e)     enter and implement such orders as may be necessary or appropriate to execute, implement, or
consummate the provisions of the Plan or the Confirmation Order, including contracts, instruments, releases,
indentures, and other agreements or documents created in connection with the Plan, the Plan Supplement or the
Disclosure Statement;
        (f)      issue injunctions, enter and implement other orders, or take such other actions as may be necessary
or appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;
        (g)      hear, determine, and resolve any cases, matters, controversies, suits, disputes, or Causes of Action
in connection with or in any way related to the Chapter 11 Case, including: (a) with respect to the repayment or
return of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for amounts
not timely repaid pursuant to Section 6.5(a); (b) with respect to the releases, injunctions, and other provisions
contained in ARTICLE VIII, including entry of such orders as may be necessary or appropriate to implement such
releases, injunctions, and other provisions; (c) that may arise in connection with the Consummation, interpretation,
implementation, or enforcement of the Plan or the Confirmation Order, or any Entity’s rights arising from or
obligations incurred in connection with the Plan or the Confirmation Order, including those arising under
agreements, documents, or instruments executed in connection with the Plan; (d) related to section 1141 of the
Bankruptcy Code; or (e) with respect to any Claims arising under or in connection with the Old Notes asserted by
any current or former Holder of Old Notes against the Reorganized Debtor;



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        (h)   enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
any reason modified, stayed, reversed, revoked, or vacated;
        (i)     consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;
       (j)      determine any other matters that may arise in connection with or relate to the Plan, the Disclosure
Statement, or the Confirmation Order;
        (k)     hear and determine matters concerning U.S. state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

        (l)      enter an order or Final Decree concluding or closing the Chapter 11 Case;
        (m)      adjudicate any and all disputes arising from or relating to distributions under the Plan;
        (n)     hear and determine all disputes involving the existence, nature, scope, or enforcement of any
exculpations, discharges, injunctions, and releases granted in connection with and under the Plan, including under
Article VIII;
        (o)      enforce all orders previously entered by the Bankruptcy Court; and
        (p)      hear any other matter not inconsistent with the Bankruptcy Code.
                                               ARTICLE XII
                                        MISCELLANEOUS PROVISIONS

12.1    Immediate Binding Effect
         Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, upon the occurrence of the
Effective Date, the terms of the Plan and the documents and instruments contained in the Plan Supplement shall be
immediately effective and enforceable and deemed binding upon the Debtor, the Reorganized Debtor, and any and
all Holders of Claims and Interests (irrespective of whether such Holders of Claims or Interests are deemed to have
accepted the Plan), all Entities that are parties to or are subject to the settlements, compromises, releases, discharges,
and injunctions described in the Plan, each Entity acquiring property under the Plan and any and all non-Debtor
parties to Executory Contracts and Unexpired Leases. The Confirmation Order shall contain a waiver of any stay
of enforcement otherwise applicable, including pursuant to Bankruptcy Rule 3020(e), 6004(g), and 7062.

12.2    Additional Documents
         On or before the Effective Date, the Debtor may file with the Bankruptcy Court such agreements and other
documents as may be necessary or appropriate to effectuate and further evidence the terms and conditions of the
Plan. The Debtor or the Reorganized Debtor, as applicable, and all Holders of Claims and Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and
deliver any agreements or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of the Plan.

12.3    Reservation of Rights
        Except as expressly set forth herein, the Plan shall have no force or effect unless the Bankruptcy Court shall
enter the Confirmation Order. None of the filing of the Plan, any statement or provision contained in the Plan, or
the taking of any action by the Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement
shall be or shall be deemed to be an admission or waiver of any rights of the Debtor with respect to the Holders of
Claims or Interests prior to the Effective Date.

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12.4    Successors and Assigns
         The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, affiliate, officer, director, agent,
representative, attorney, beneficiaries, or guardian, if any, of each Entity.

12.5    Service of Documents
        After the Effective Date, any pleading, notice, or other document required by the Plan to be served on or
delivered to the Reorganized Debtor shall be served on:

 Reorganized Debtor:                      Credivalores – Crediservicios S.A.
                                          Carrera 7 #76-35, 7th Floor, Bogotá, Colombia

 Counsel to Reorganizaed Debtor:          Baker & McKenzie LLP
                                          452 5th Avenue
                                          New York, New York 10018
                                          Telephone: (212) 626-4100
                                          Attn: Michael Fitzgerald, Esq.
                                          -and-
                                          1111 Brickell Avenue, 10th Floor
                                          Miami, Florida 33131
                                          Telephone: (305) 789-8900
                                          Attn: Paul J. Keenan Jr. , Esq.


12.6    Term of Injunctions or Stays
        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect
in the Chapter 11 Case (pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
Bankruptcy Court) and existing on the Confirmation Date (excluding any injunctions or stays contained in
the Plan or the Confirmation Order) shall remain in full force and effect until the Effective Date. All
injunctions or stays contained in the Plan or the Confirmation Order shall remain in full force and effect in
accordance with their terms.

12.7    Entire Agreement
       Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations,
promises, covenants, agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.

12.8    Plan Supplement Exhibits
          All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are filed, copies of such exhibits and documents
shall be made available upon written request to the Debtor’s counsel at the address above or by downloading such
exhibits and documents from the Bankruptcy Court’s website at www.nysb.uscourts.gov. Unless otherwise ordered
by the Bankruptcy Court, to the extent any exhibit or document in the Plan Supplement is inconsistent with the
terms of any part of the Plan that does not constitute the Plan Supplement, such part of the Plan that does not
constitute the Plan Supplement shall control.

12.9    Non-Severability


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        If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered
or interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated
by such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with
the foregoing, is: (a) valid and enforceable pursuant to its terms; (b) integral to the Plan and may not be deleted or
modified without the consent of the Reorganized Debtor; and (c) nonseverable and mutually dependent.

12.10 Closing Chapter 11 Case
        The Reorganized Debtor shall promptly file, after the full administration of the Chapter 11 Case, with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy
Court to close the Chapter 11 Case.


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Dated: June 25, 2024                        Respectfully Submitted,




                                            CREDIVALORES – CREDISERVICIOS S.A.,


                                                 /s/ Jaime Francisco Buritica Leal
